            Case 1:20-cv-10740-FDS Document 25 Filed 01/28/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 STEPHEN GIANNAROS,

                         Plaintiff,                     Case No. 1:20-cv-10740

           v.

 THE BEAUFORT BONNET COMPANY, LLC,

                         Defendant.


                                      NOTICE OF SETTLEMENT

          PLEASE TAKE NOTICE that Plaintiff Stephen Giannaros and Defendant The Beaufort

Bonnet Company, LLC have reached an agreement in principle that will resolve the claims alleged

in the case, Giannaros v. The Beaufort Bonnet Company, LLC, Case No. 1:20-cv-10740. Plaintiff

anticipates filing a Notice of Voluntary Dismissal With Prejudice within thirty (30) days of this

notice.

          Dated: January 28, 2021            Respectfully Submitted,

                                             /s/ Jason M. Leviton
                                             Jason M. Leviton (BBO# 678331)
                                             BLOCK & LEVITON LLP
                                             260 Franklin Street, Suite 1860
                                             Boston, MA 02110
                                             Phone: (617) 398-5600
                                             jason@blockesq.com

                                             Kevin W. Tucker (He/Him/His)
                                             Pa. No. 312144
                                             Kevin J. Abramowicz
                                             Pa. No. 320659
                                             EAST END TRIAL GROUP LLC
                                             186 42nd St., P.O. Box 40127
                                             Pittsburgh, PA 15201
                                             Tel. (412) 877-5220
                                             ktucker@eastendtrialgroup.com
                                             kabramowicz@eastendtrialgroup.com
         Case 1:20-cv-10740-FDS Document 25 Filed 01/28/21 Page 2 of 2




                                              Counsel for Plaintiff




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: January 28, 2021                           /s/ Jason M. Leviton
                                                   Jason M. Leviton
